  Case
Form G6 19-00576
        (20200113_apo)Doc   62 Filed 04/21/21 Entered 04/21/21 09:58:55              Desc Main
                                 Document      Page 1 of 2
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                                      )   BK No.: 17-09308
Mack Industries Ltd., et al.,                               )   (Jointly Administered)
                                                            )   Chapter: 7
                                                            )
                                                            )   Honorable Carol A. Doyle
                                                            )
                                    Debtor(s)               )
Ronald R. Peterson, as chapter 7 trustee for Mack           )   Adv. No.: 19-00576
Industries II LLC, et al.,                                  )
                                                            )
                                Plaintiff(s)
Colony American Finance Lender LLC, et al.,                 )
                                                            )
                                                            )
                                    Defendant(s)            )

  Order Granting the Trustee's Motion for Leave to Amend and Request for Shortened Notice

       This matter coming on the the motion (the "Motion") of Ronald R. Peterson, as chapter 7 trustee
for Mack Industries II LLC, et al., (the "Trustee") for leave to amend and request for shortened notice
(the "Motion"), IT IS ORDERED THAT:

   1. The Motion is granted as follows;

   2. The Trustee is granted leave to file his second-amended complaint by April 29, 2021;

   3. The time for the defendants to file a notice electing not to participate in the mediation process
under paragraph 4(a)(iii) of the Second Amended Order Approving Procedures Governing Avoidance
Actions (ECF No. 55) (the "Procedures Order") is extended to (a) May 28, 2021 if Defendants do not
move to dismiss the Trustee's Second Amended Complaint; or (b) the 28th day after the Court rules on
Defendants' Motion to Dismiss the Second Amended Complaint if Defendants move to dismiss; and

   4. Discovery under paragraph 5 of the Procedures order is stayed pending further order of Court.

                                                          Enter:


                                                                    Honorable Carol A.
                                                                                    A Doyle
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Dated:$SULO                                               United States Bankruptcy Judge

Prepared by:
Jeffrey K. Paulsen (6300528)
Ariane Holtschlag (6294327)
FACTORLAW
105 W. Madison, Suite 1500
Chicago, IL 60602
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        (20200113_apo)Doc   62   Filed 04/21/21 Entered 04/21/21 09:58:55   Desc Main
                                   Document     Page 2 of 2
Tel: (312) 878-0969
Fax: (847) 574-8233
Email: jpaulsen@wfactorlaw.com
